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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Jonathan D. Gibson,
                                                         Case No. 13-CV-01310 (DSD/JSM)
                               Plaintiff,
vs.

Consumer Portfolio Services, Inc., Ms.
Stewart, Does 1-10,                                      STIPULATION TO EXTEND
                                                         DEADLINE TO RESPOND TO
                               Defendants.               COMPLAINT



           It is stipulated by the plaintiff and Defendant Consumer Portfolio Services, Inc.,

 by and through their respective counsel, that Consumer Portfolio Services, Inc. shall have

 until July 22, 2013 to answer or otherwise plead in response to the Complaint in this

 matter.

 Dated: June 20, 2013                               The Ryder Law Firm, LLC

                                                      s/ Randall P. Ryder
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                                                     Attorneys for Plaintiff

 Dated: June 20, 2013                                SNYDER GISLASON FRASIER, LLC


                                                      /s Chad A. Snyder
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                                                     Services, Inc.
